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Case 2: 04- C\/- 02486- BBD- -tmp Document 24 Filed 07/06/05 Page 1 Of 3 Page|D 22

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

 

GLEN BERNARD MANN ,
Petitioner,
vs.

NO. 04-2486-D/P

RICKY BELL, Warden, Riverbend
Maximum Security Institution,

Respondent.

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ORDER SUBSTITUTING COUNSEL FOR RESPONDENT

 

Before the Court is the motion of Tennessee Associate Deputy
Attorney' General Jennifer L. Smith to be substituted as lead
counsel for the Respondent in this matter. The Court is informed
that present lead counsel, Assistant Attorney General Angele M.
Gregory, is resigning her position and Will no longer be employed
by the Attorney General’s office effective at the end of July 2005.
Ms. Smith affirms that she is sufficiently familiar with the facts
and circumstances of this matter, and that she may assume the
responsibilities of lead counsel without delay.

The Court therefore ORDERS that Ms. Smith be substituted as
lead. counsel for the Respondent in this matter, and that all
notices and service of pleadings, motions, and papers be directed

to her.

 

This document entered on the docket sgaet 12 compliance l’/

with Flute 58 and/or 79(a} FRCP on

Case 2:04-CV-O2486-BBD-tmp Document 24 Filed 07/06/05 Page 2 of 3 Page|D 23

IT Is so oRDERED this ZCD day of June, 2005.

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B RNICE §T/DONALD
ITED sTATEs DISTRICT JUDGE

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 24 in
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ESSEE

 

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Honorable Bernice Donald
US DISTRICT COURT

